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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                              MACON DIVISION

MICHAEL J SNELLING, JR,          :
                                 :
                 Plaintiff,      :
                                 :
           VS.                   :                NO. 5:22-CV-00153-MTT-CHW
                                 :
GEORGIA DEPARTMENT OF            :
CORRECTIONS,                     :
                                 :
                 Defendant.      :
________________________________ :

                                         ORDER

       Presently pending before the Court is a Complaint filed by pro se Plaintiff Michael

J. Snelling, Jr., an inmate currently housed at Hays State Prison in Trion, Georgia, seeking

relief pursuant to 42 U.S.C. § 1983 (ECF No. 1). On May 3, 2022, Plaintiff was ordered

to recast his Complaint on the Court’s standard form and submit a proper and complete

motion for leave to proceed in forma pauperis. Plaintiff was given fourteen (14) days to

comply and was warned that the failure to fully and timely comply with the Court’s orders

and instructions could result in the dismissal of his Complaint. See generally Order, May

3, 2022, ECF No. 4.

       Plaintiff subsequently filed a letter referencing several of his cases and advised the

Court that he was not receiving his mail on time. Letter 1, May 23, 2022, ECF No. 5. The

Court thus liberally construed Plaintiff’s letter as a motion for an extension of time to

comply with the Court’s May 3, 2022 Order and provided Plaintiff with an additional

fourteen (14) days to comply. Plaintiff was again reminded that the failure to timely and
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fully comply with the Court’s orders and instructions would result in the dismissal of his

Complaint. See generally Order, May 24, 2022, ECF No. 6.

       On June 7, 2022, Plaintiff submitted a document titled “Reopen for Appeal and for

Brief of Trial on All Case’s You See on Each Page,” which the Court received on June 15,

2022. ECF No. 7. This document again references 14 other cases Plaintiff has filed in this

Court and makes claims about delays in mail and other wrongdoing at various facilities

where Plaintiff has been confined, but it does not request any specific relief and does not

address the Court’s order to recast the complaint and file a proper motion to proceed in

forma pauperis. To the extent that this ECF No. 7 seeks any relief, it is DENIED.

       The extended time for compliance has now passed without a response from Plaintiff.

Failure to comply with the orders and instructions of the Court is grounds for dismissal.

Plaintiff is therefore ORDERED to RESPOND and SHOW CAUSE why this action

should not be dismissed. Plaintiff shall have FOURTEEN (14) DAYS from the date of

this Order to respond and to comply with the Court’s previous orders and instructions.

Failure to fully and timely comply with this Order will result in the dismissal of

Plaintiff’s Complaint. Plaintiff is also reminded of his obligation to notify the Court in

writing of any change in his mailing address. There shall be no service of process until

further order of the Court.

       SO ORDERED, this 24th day of June, 2022.


                                                 s/ Charles H. Weigle
                                                 Charles H. Weigle
                                                 United States Magistrate Judge


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